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                                  Attorneys for Debtors
                             14   and Debtors in Possession
                                                              UNITED STATES BANKRUPTCY COURT
                             15
                                                              NORTHERN DISTRICT OF CALIFORNIA
                             16                                    SAN FRANCISCO DIVISION

                             17                                                 Bankruptcy Case
                                                                                No. 19-30088 (DM)
                             18   In re:
                                                                                Chapter 11
                             19   PG&E CORPORATION,
                                                                                (Lead Case)
                             20            - and -
                                                                                (Jointly Administered)
                             21   PACIFIC GAS AND ELECTRIC                      SUPPLEMENTAL DECLARATION OF DMITRY
                                  COMPANY,                                      KRIVIN IN SUPPORT OF THE DEBTORS’
                             22                                                 APPLICATION PURSUANT TO 11 U.S.C. §§ 363(b)
                                                                 Debtors.       AND 105(a) FOR AUTHORITY TO ENTER INTO,
                             23                                                 PERFORM UNDER AND MAKE PAYMENTS UNDER
                                   Affects PG&E Corporation                    CERTAIN CONSULTING CONTRACTS WITH
                             24    Affects Pacific Gas and Electric            MCKINSEY & COMPANY, INC. UNITED STATES
                                  Company
                             25    Affects both Debtors                        [No Hearing Date Requested]
                             26   * All papers shall be filed in the Lead
                                  Case, No. 19-30088 (DM).
                             27
                             28

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                             1              I, Dmitry Krivin, declare as follows:

                             2                  1. I am employed as a partner at McKinsey & Company, Inc. United States (“McKinsey

                             3        US”) with an office at 175 Greenwich Street, New York City, NY, 10007. McKinsey & Company,

                             4        Inc. (“McKinsey & Co.”) is the ultimate parent company of McKinsey US and the Retained

                             5        Affiliates1 (as defined below, and such Retained Affiliates collectively with McKinsey US, the

                             6        “Proposed Professionals”). I am duly authorized to make this Supplemental Declaration, which is

                             7        being submitted to supplement my initial declaration (the “Initial Declaration”) filed on February 26,

                             8        2020, Dkt. 5924, in support of the Debtors’ Application Pursuant to 11 U.S.C. §§ 363(b) and 105(a)
                             9        for Authority to Enter Into, Perform Under and Make Payments Under Certain Consulting Contracts

                             10       With McKinsey & Company, Inc. United States, Dkt. 3919 (as supplemented, the “Application”).

                             11                 2. On February 26, 2020, PG&E filed a first supplement to the Application seeking

                             12       authority to enter into and perform under certain additional agreements that were entered into between
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                             13       the Debtors and McKinsey US in the ordinary course of business that relate to the Application and the
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                             14       Service Contracts. Dkt. 5925.

                             15                 3. On June 15, 2020, PG&E filed a second supplement to the Application seeking

                             16       authority to enter into and perform under one additional such agreement. Dkt. 7959.

                             17                 4. Except as otherwise noted, the statements set forth herein are based on knowledge I

                             18       have from my employment position and diligence undertaken by me or professionals reporting to me

                             19       and, if called and sworn as a witness, I would testify competently thereto.

                             20                 5. In connection with its proposed retention by the Debtors in these chapter 11 cases, the

                             21       Proposed Professionals undertook a comprehensive process to determine whether they had any

                             22       connections or other relationships that might cause them to hold or represent an interest adverse to the

                             23       Debtors. Specifically, the Proposed Professionals obtained from the Debtors or their representatives

                             24       the names of individuals and entities that may be parties in interest in the Debtors’ chapter 11 cases

                             25       (as updated from time to time, the “Potential Parties in Interest”), and such parties were listed on

                             26
                                  1
                             27     All capitalized terms used but not defined herein shall have the meanings ascribed to such terms used
                                  in the Initial Declaration.
                             28
                                                                                        2
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                             1        Schedule 1 to the Initial Declaration.

                             2                  6. Subsequent to the preparation of the Initial Declaration, the Debtors and/or their

                             3        representatives provided the Proposed Professionals with an updated list of Potential Parties in

                             4        Interest, and such parties are listed on Schedule 1 attached hereto. The Working Group used the same

                             5        process described in the Initial Declaration to expand the new Interested Parties on the updated

                             6        Interested Parties List to include all corporate affiliates that shared a common parent with each new

                             7        corporate party listed on the Interested Parties List (the “Supplemental Interested Parties”). The

                             8        Supplemental Interested Parties were then added to the original Expanded IPL (the “Updated
                             9        Expanded IPL”).2 In sum, the Updated Expanded IPL expanded the list of 23 unique new Interested

                             10       Parties to 1550 unique parties (i.e., the Supplemental Interested Parties and their affiliates).3

                             11                 7. The Working Group also used the same process described in the Initial Declaration to

                             12       compile an updated Client List, using a “Look-Back Period” starting on January 29, 2016, and ending
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                             13       on April 30, 2020 (the “Updated Client List”)
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                             14                 8. The Working Group then checked the names on the Updated Client List against the

                             15       Updated Expanded IPL, and the scope of the check was intentionally broad and inclusive. This search

                             16       captured not only connections to the Supplemental Interested Parties, but also any new connections on

                             17       the Updated Client List since the filing of the Initial Declaration. The resulting matches not previously

                             18       included in the Initial Declaration are set forth on Schedule 2 hereto. Based upon the results and the

                             19       questionnaire process described in more detail in the Initial Declaration, to the best of my knowledge,

                             20       (i) none of these relationships constitute interests adverse to the Debtors, and (ii) all of these

                             21       relationships involved matters unrelated to the Debtors, except to the extent described in paragraph 9.

                             22                 9. I note that McKinsey consultants advised Hitachi Ltd. in connection with, among other

                             23       things, an opportunity to provide certain services and products to the Debtors. The McKinsey team

                             24       did not have any direct contact with the Debtors during this engagement, which was concluded in

                             25
                                  2
                                           Because of the voluminous nature of the Updated Expanded IPL, it is not attached to this Declaration. Copies are
                             26   available upon request to the Proposed Professionals’ counsel.
                                  3
                             27            The Protocol does not require such an expansion of the Interested Parties List. The Proposed Professionals
                                  undertook this analysis out of an abundance of caution, in part to account for the lack of a computerized conflict-checking
                             28   database.
                                                                                               3
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                             1    2018.

                             2              10. The Working Group also compared the Proposed Professionals’ records of ordinary-

                             3    course vendor and banking relationships during the Look-Back Period against the Updated Expanded

                             4    IPL, and the resulting matches not previously included in the Initial Declaration are also set forth on

                             5    Schedule 2 hereto. To the best of my knowledge, as ordinary-course vendor and banking

                             6    relationships, none of these relationships constitute interests adverse to the Debtors.

                             7              11. In addition, upon receiving the list of additional Potential Parties in Interest, the

                             8    Working Group sent supplemental Surveys relating to the parties added to the Interested Parties List
                             9    and the Updated Expanded IPL and connections thereto, to supplement the results of the Surveys

                             10   described in paragraphs 17-20 of the Initial Declaration. The results of these supplemental Surveys,

                             11   to the extent not previously disclosed in the Initial Declaration, are reflected in the disclosures set

                             12   forth herein.
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                             13             12. The Working Group also used the same process described in the Initial Declaration to
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                             14   determine whether any McKinsey employees had been added to the Engagement Team since the

                             15   preparation of my Initial Declaration and to further determine whether any such additional employees

                             16   resulted in any new Retained Affiliates. Any additional Engagement Team members identified were

                             17   employees of one of the Proposed Professionals previously identified in my Initial Declaration. Such

                             18   additional Engagement Team members were included in the connection checking process described

                             19   herein.

                             20             13. Other than as disclosed below, no client listed on Schedule 2 accounted for more than

                             21   1.00% of the gross revenue of any Proposed Professional during the period from May 1, 2019 through

                             22   April 30, 2020 (the “Revenue Period”).

                             23             14. To the best of my knowledge, other than the Debtors, the following clients accounted

                             24   for more than 1.00% of RTS’s gross revenue during the Revenue Period.                To the best of my

                             25   knowledge, based on the results of the Surveys, none of the services provided to any of these clients is

                             26   or was related to the Debtors or these chapter 11 cases.

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                                                    a. Covia Holdings Corp., Cummins Inc., Freeport-McMoRan Inc., Goldman Sachs
                             1

                             2                          Group, Macy's Inc., NRG Energy Inc., Government of Puerto Rico, Royal Dutch

                             3                          Shell, SoftBank Group Corp., The Hartford Financial Services Group Inc., and

                             4                          Valaris plc, each accounted for 1.01–3.00% of RTS’s gross revenue during the
                             5                          Revenue Period.
                             6

                             7                      b. Dow DuPont and Weatherford each accounted for 3.01–5.00% of RTS’s gross

                             8                          revenue during the Revenue Period.
                             9
                                                    c. American International Group (AIG), Archer Daniels Midland Company and
                             10

                             11                         United Technologies Corp. each accounted for 5.01–9.00% of RTS’s gross

                             12                         revenue during the Revenue Period.
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                             13
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                                                    d. Johnson Controls Inc. accounted for 9.01–12.00% of RTS’s gross revenue
                             14

                             15                         during the Revenue Period.

                             16
                                            15. To the best of my knowledge, the following clients accounted for more than 1.00% of
                             17
                                  McKinsey US’s gross revenue during the Revenue Period. To the best of my knowledge, based on
                             18
                                  the results of the Surveys, none of the services provided to any of these clients is or was related to the
                             19
                                  Debtors or their chapter 11 cases.
                             20
                                                    a. Chevron Corporation, CVS Health, Freeport-McMoRan Inc., Johnson Controls
                             21
                                                        Inc., United Technologies Corp. and Wells Fargo & Company, each accounted
                             22

                             23                         for 1.01–3.00% of McKinsey US’s gross revenue during the Revenue Period.

                             24
                                                    b. Verizon Communications accounted for 3.01–5.00% of McKinsey US’s gross
                             25
                                                        revenue during the Revenue Period.
                             26

                             27             16. To the best of my knowledge, the following clients accounted for more than 1.00% of
                             28
                                                                                     5
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                             1    McKinsey Canada’s gross revenue during the Revenue Period. To the best of my knowledge, based

                             2    on the results of the Surveys, none of the services provided to any of these clients is or was related to

                             3    the Debtors or their chapter 11 cases.

                             4                      a. ArcelorMittal SA, BC Community Owned Institution, CAE, Inc., Caisse de
                             5
                                                        dépôt et placement du Québec, Enbridge Inc., MasterCard Inc., Sun Life
                             6
                                                        Financial Inc., Suncor Inc., The Vanguard Group Inc. and Toronto-Dominion
                             7
                                                        Bank, each accounted for 1.01–3.00% of McKinsey Canada’s gross revenue
                             8
                             9                          during the Revenue Period.

                             10                     b. Royal Bank Financial Group accounted for 3.01–5.00% of McKinsey Canada’s

                             11                         gross revenue during the Revenue Period.
                             12                     c. CN Government - Fed/Prov and Teck Resources Limited, each accounted for
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                             13
                                                        5.01-9.00% of McKinsey Canada’s gross revenue during the Revenue Period.
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                             14

                             15             17. In addition, consistent with the Protocol, counsel for the Proposed Professionals sent the

                             16   new names from the Updated Expanded IPL to counsel for MIO to facilitate MIO’s search for new

                             17   connections to Interested Parties. MIO then compared the Updated Expanded IPL to a list, compiled

                             18   to the best of its knowledge, of its third-party investment managers, direct investments, financial

                             19   counterparties and service providers (such as vendors).       MIO then delivered the results of this

                             20   comparison, and the resulting matches not previously included in the Initial Declaration are set forth

                             21   on Schedule 3 hereto. Based on the results provided by MIO, to the best of my knowledge, none of

                             22   these relationships result in any Proposed Professional holding an interest adverse to the Debtors.

                             23             18. The Proposed Professionals will endeavor to further supplement this Declaration in the

                             24   event they become aware of any relationship or other information that requires disclosure.

                             25

                             26                                [Remainder of page left intentionally blank]

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                             28
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